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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                 )
                                       )
                                       )
RICHARD E. WEINGARTEN                  ) Case No. 20-16815-JGR
                                       )
                  Debtor.              ) Chapter 11
                                      ) Subchapter V
______________________________________________________________________________


                       REPLY TO DEFICIENCY NOTICE
______________________________________________________________________________

        Richard E. Weingarten, Debtor-in-Possession herein (“Debtor”), through his counsel,
replies to the Deficiency Notice [Doc. No 12] as follows:

1. The Debtor is an individual Subchapter V Debtor and has already filed his Initial Financial
Report (“IFR”) with the Office of United States Trustee (“UST”) and the individual Subchapter
V Trustee, supplying copies of Debtor’s evidence of insurance, recent tax returns, 180 day cash
flow, and other required documentation.

2. The initial Debtor’s interview with the UST analyst and the Subchapter V Trustee has been
completed and all documentation requested supplied.

3. The Debtor does not maintain a balance sheet or small business statement of operations as the
Debtor is an individual with W-2 income.

4. The Debtor can file the IFR with the Court if required to do so but that document is typically
only delivered to the Office of UST.

WHERFORE the Debtor respectfully request this Court to note his compliance with the
deficiency notice [Doc. No.12] and for such further relief as is appropriate.

Dated: November 9, 2020.

                                            Respectfully submitted,
                                            BUECHLER LAW OFFICE, LLC

                                            /s/ Michael J. Guyerson
                                            ______________________________
                                            Michael J. Guyerson # 11279
                                            999 18th Street, Suite 1230-S


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